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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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RICHARD DEMPSEY,
                                                              Civil Action No.: ________________
                                Plaintiff,

              -against-                                           COMPLAINT AND
                                                              DEMAND FOR TRIAL BY JURY
EB AT EAST NORTHPORT, LLC
d/b/a THE BRISTAL ASSISTED LIVING,
THE ENGEL BURMAN GROUP LLC
a/k/a THE ENGEL BURMAN GROUP,
JOHN DOE #1, and JOHN DOE #2,

                                  Defendants.
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         Plaintiff, RICHARD DEMPSEY, by his attorneys, HACH & ROSE, LLP, complaining of

the defendants, allege upon information and belief, as follows:

                                               JURISDICTION

         1.       Plaintiff, RICHARD DEMPSEY, is a citizen of the State of New Jersey, residing at

10 Dean Road, Mendham, New Jersey 07945.

         2.       Upon information and belief, Defendant EB AT EAST NORTHPORT, LLC d/b/a

THE BRISTAL ASSISTED LIVING is a New York limited liability company with its principal

place of business at 124 Atlantic Avenue, Lynbrook, New York 11563.

         3.       Upon information and belief, Defendant EB AT EAST NORTHPORT, LLC d/b/a

THE BRISTAL ASSISTED LIVING is the entity that owns or owned THE BRISTAL ASSISTED

LIVING located at 8 Freer Street, Lynbrook, New York 11563.

         4.       Upon information and belief, Defendant THE ENGEL BURMAN GROUP LLC

a/k/a THE ENGEL BURMAN GROUP is a Delaware limited liability company with a principal

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place of business at 300 Jericho Turnpike, Jericho, New York, 11753.

        5.      Upon information and belief, Defendant EB AT EAST NORTHPORT, LLC d/b/a

THE BRISTAL ASSISTED LIVING is wholly owned and controlled by Defendant THE ENGEL

BURMAN GROUP LLC a/k/a THE ENGEL BURMAN GROUP.

        6.      The amount in controversy exceeds the sum or value of $75,000.00, exclusive of

interest and costs.

        7.      This court has diversity jurisdiction over this action under 28 U.S.C. § 1332 (a).

        8.      Venue is properly placed in the United States District Court for the Eastern District

of New York based upon the residence of Plaintiff and Defendants, EB AT EAST NORTHPORT,

LLC d/b/a THE BRISTAL ASSISTED LIVING, and THE ENGEL BURMAN GROUP LLC a/k/a

THE ENGEL BURMAN GROUP.

                  AS AND FOR A FIRST CAUSE OF ACTION ON BEHALF OF
                             PLAINTIFF, RICHARD DEMPSEY

        9.      On July 21, 2019, Plaintiff, RICHARD DEMPSEY was residing at an assisted living

facility known as THE BRISTAL ASSISTED LIVING located at 8 Freer Street, Lynbrook, New

York 11563.

        10.     On July 21, 2019, Plaintiff, RICHARD DEMPSEY, was lawfully present at THE

BRISTAL ASSISTED LIVING located at 8 Freer Street, Lynbrook, New York 11563.

        11.     On July 21, 2019, while present at THE BRISTAL ASSISTED LIVING, Plaintiff,

RICHARD DEMPSEY was seriously injured when he slipped and fell on water on the floor in the

bathroom.

        12.     The above occurrence was caused solely by and through the negligence of the

defendants, their agents servants and/or employees, herein, including, but not limited to Defendants

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known as JOHN DOE #1 and/or JOHN DOE #2, without any negligence on the part of the plaintiff

contributing thereto.

        13.     The defendants and/or each of them had both actual and constructive notice of the

dangerous and defective conditions and practices complained of herein.

        14.     The defendants created the defective and dangerous condition.

        15.     Defendants, their agents, servants, or employees, were negligent in that they caused,

allowed, and permitted their premises to become and remain in a defective, dangerous, improper,

and negligent condition; in that they failed to take reasonable or any precaution for the safety of

plaintiff and other residents of the assisted living facility; in that they caused, allowed, and permitted

the floor of a bathroom for the use of plaintiff and/or others to become and remain in a wet, slippery,

dangerous, and otherwise negligent condition so that as plaintiff was lawfully in and upon the

bathroom floor he was caused to slip and fall, sustaining the injuries hereinafter alleged; and that

Defendants were otherwise negligent under the circumstances.

        16.     That as a result of the negligence of the Defendants, Plaintiff, RICHARD

DEMPSEY, became, still is and for a long time to come, will be sick, sore, lame, bruised, injured,

disabled and wounded in and about the various parts of his head, limbs, body, blood vessels and

surrounding tissues, and has suffered severe and extreme mental shock, anguish and psychic injuries,

and that plaintiff was otherwise injured, and upon information and belief, said injuries are permanent.

That by reason of the foregoing, Plaintiff, RICHARD DEMPSEY was obligated to and did

necessarily employ medical aid, hospital services, take medication, and employ medical supplies in

an attempt to cure the aforesaid injuries, and has been prevented from his/her usual duties and will

be so prevented for a long time to come;


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         17.     Defendants are jointly and severally liable for non-economic loss herein, pursuant to

CPLR, Article 16.

                                      DEMAND FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against the Defendants jointly and severally,

in all causes of action, for the following relief:

         a)      Compensatory and punitive damages in the sum of
                 Five Million Dollars ($5,000,000.00);

         b)      Interest and costs of the suit; and

         c)      For such other relief as the Court deems fair, equitable and just.

                                     DEMAND FOR TRIAL BY JURY

         Plaintiff demands a trial by jury of all issues.

Dated:    New York, New York
          August 17, 2021




                                                            ________________
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